                                               3:19-cr-30067-RM-TSH # 82      Page 1 of 8
                                                                                                                  E-FILED
                                                                                       Tuesday, 01 June, 2021 05:12:38 PM
                                                                                             Clerk, U.S. District Court, ILCD
                                             IN THE UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF ILLINOIS
                                                     SPRINGFIELD DIVISION

                            UNITED STATES OF AMERICA,

                                Plaintiff,

                                      v.                                    No.: 19-CR-30067

                            TODD SHEFFLER,
                            WILLIE HEDDEN, and
                            ALEX BANTA

                                Defendant.


                                  DEFENDANT BANTA’S MOTION IN LIMINE NO. 4

                                Defendant ALEX BANTA, by his attorneys, moves this Court

                        pursuant to Federal Rule of Criminal Procedure 16(d), Federal Rules of

                        Evidence 104, and the inherent authority of this Court to manage the

                        trial in this case, 1 for entry of an order regarding the admission of

                        testimony by Dr. Gershon Norfleet. In support of this Motion, Defendant


                        1“Although the Federal Rules of Evidence do not explicitly authorize in limine
                        rulings, the practice has developed pursuant to the district court's inherent authority
                        to manage the course of trials.” Luce v. U.S., 469 U.S. 38, 41 n.4 (1984). “Motions
                        in limine are common, and frequently granted, in criminal as in civil trials.” U.S. v.
                        Warner, 506 F.3d 517, 523 (7th Cir. 2007). Such motions permit the district court
                        to eliminate evidence “that clearly ought not be presented to the jury,” because it is
                        “inadmissible for any purpose,” Jonasson v. Lutheran Child and Family Services,
                        115 F.3d 436, 440 (7th Cir. 1997) accord U.S. v. Tokash, 282 F.3d 962, 968 (7th
                        Cir. 2002).
FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                                  Page 1 of 8
                                          3:19-cr-30067-RM-TSH # 82   Page 2 of 8




                        Banta states as follows:

                             1.    Preliminary Note:     This Motion makes reference to the

                    autopsy report regarding Inmate Earvin. In view of the personal medical

                    information contained in these documents, Defendant Banta is

                    simultaneously filing a motion to submit the autopsy report to the Court

                    under seal.

                             2.    Defendant Banta stands indicted (d/e #1) on the following

                    serious charges, all arising from an incident at a state correctional center

                    where an inmate died from injuries alleged to have been sustained in that

                    incident: Count I – Conspiracy to Deprive Civil Rights; Count II –

                    Deprivation of Civil Rights; Count 3 – Conspiracy to Engage in Misleading

                    Conduct; Count 9 – Obstruction – Falsification of Document; and Count

                    10 – Obstruction – Misleading Conduct. Counts 4, 5, 6, 7, and 8, directed

                    to the co-defendants make similar serious allegations of obstruction.

                             3.    It is the contention of the Government that the use of force in

                    the entry way to the segregation unit by Defendant Banta and the other

                    two co-defendants against the inmate caused the inmate’s death.

                             4.    Federal Rule of Criminal Procedure 16(a)(1)(G) provides as

                    follows (emphasis supplied):

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                            Page 2 of 8
                                          3:19-cr-30067-RM-TSH # 82       Page 3 of 8




                          (G) Expert Witnesses. At the defendant's request, the government must
                          give to the defendant a written summary of any testimony that the
                          government intends to use under Rules 702, 703, or 705 of the Federal
                          Rules of Evidence during its case-in-chief at trial. If the government
                          requests discovery under subdivision (b)(1)(C)(ii) and the defendant
                          complies, the government must, at the defendant's request, give to the
                          defendant a written summary of testimony that the government intends
                          to use under Rules 702, 703, or 705 of the Federal Rules of Evidence as
                          evidence at trial on the issue of the defendant's mental condition. The
                          summary provided under this subparagraph must describe the
                          witness's opinions, the bases and reasons for those opinions, and the
                          witness's qualifications.

                          5.   Federal Rule of Criminal Procedure 16(d) provides in
                    pertinent part:

                               (d) Regulating Discovery.

                               (1) Protective and Modifying Orders. At any time the court may, for
                               good cause, * * * grant other appropriate relief. * * * *

                               (2) Failure to Comply. If a party fails to comply with this rule, the
                               court may:
                               (A) order that party to permit the discovery or inspection; specify its
                               time, place, and manner; and prescribe other just terms and
                               conditions;
                               (B) grant a continuance;
                               (C) prohibit that party from introducing the undisclosed evidence; or
                               (D) enter any other order that is just under the circumstances.

                          6.      By letter to Government’s counsel dated March 9, 2020,

                    Defendant Banta’s counsel requested the following disclosure:

                          All material required to be disclosed by Federal Rule of Criminal
                          Procedure 16(a)(1)(G) regarding expert witnesses: a written summary of
                          any testimony that the government intends to use under Rules 702, 703,
                          or 705 of the Federal Rules of Evidence during its case-in-chief at trial.
FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                               Page 3 of 8
                                           3:19-cr-30067-RM-TSH # 82         Page 4 of 8




                          The summary provided under this subparagraph must describe the
                          witness's opinions, the bases and reasons for those opinions, and the
                          witness's qualifications.

                          7.        By email dated April 27, 2020, Government’s counsel

                    responded:

                          With respect to your discovery inquiry, we will send a more
                          complete response in the near future, but I believe we have
                          provided all Rule 16 discovery currently in the possession of the
                          government with the possible exception of the CVs of the medical
                          doctors. However, their interview reports or video interviews
                          and Mr. Earvin’s medical records have been provided. Those
                          interviews provide a detailed summary of their expected
                          testimony
                    One CV disclosed was that of Dr. Gershom Norfleet, that pathologist who

                    performed the autopsy on Earvin.               Also previously disclosed was Dr.

                    Norfleet’s autopsy report. No report of any law enforcement interview

                    with Dr. Norfleet was disclosed. If Dr. Norfleet had testified before a

                    grand jury, no grand jury testimony of Dr. Norfleet was disclosed. So, the

                    only disclosure about Dr. Norfleet was his CV and autopsy report.

                          8.      On that same date, April 27, 2020, Defendant Banta’s counsel

                    responded by email to Government’s counsel:

                               Your response seems to imply that the Government has complied with Fed.
                               R. Crim. Pro. 16(a)(1)(G) regarding expert witnesses. Hopefully that is not
                               the case, for we are not required to divine from the interview reports, video
                               interviews and medical records provided exactly what is a summary of the
                               testimony, including the witness's opinions, the bases and reasons for
                               those opinions, that the Government intends to present under Rules 702,
FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                                 Page 4 of 8
                                             3:19-cr-30067-RM-TSH # 82       Page 5 of 8




                                  703, or 705 of the Federal Rules of Evidence during its case-in-chief at
                                  trial.

                                  By rule, we are entitled to an express disclosure from the Government of
                                  that summary with the witness’s opinions, the bases and reasons for those
                                  opinions.

                                  Hopefully your “more complete response” that you say will be forthcoming
                                  will contain that required summary.

                        No further disclosures regarding Dr. Norfleet, were forthcoming from the

                        Government.

                             9.      In the October 22, 2020 phone call, Government’s counsel

                    stated that he will ask Dr. Norfleet whether if he was to assume Inmate

                    Earvin was punched multiple times and someone jumped up and landed

                    on Inmate Earvin’s right side with their knees whether the injuries to

                    Inmate Earvin that he identified (broken ribs and punctured colon) could

                    have been caused solely by punching; and whether the injuries he

                    observed are consistent with the force caused by a car accident.

                             10.     No such opinions or statements about these matters are

                    contained in Dr. Norfleet’s autopsy report. Moreover, the Government

                    never made the disclosures required by Rule 16 regarding these opinions

                    that Government’s counsel has indicated it intends to elicit, or the basis

                    therefore.



FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                                  Page 5 of 8
                                       3:19-cr-30067-RM-TSH # 82   Page 6 of 8




                          11.   As noted above, Rule 16 expressly requires the Government

                    to disclose upon request a written summary of any opinion testimony that

                    the Government intends to use of Dr. Norfleet during its case-in-chief at

                    trial, which summary provided under must describe the witness's

                    opinions, the bases and reasons for those opinions. As stated in the

                    Advisory Committee note to Rule 16, the summary describing the

                    witness’s opinions “intended to minimize surprise that often results

                    from unexpected expert testimony, reduce the need for continuances,

                    and to provide the opponent with a fair opportunity to test the merit

                    of the expert’s testimony through focused cross-examination.”

                    Defendant Banta and his counsel are not and should not be required to

                    divine from the interview reports, video interviews and medical records

                    provided exactly what is a summary of the testimony, including the

                    witness's opinions, the bases and reasons for those opinions, that the

                    Government intends to present during its case-in-chief at trial.

                          12.   The Government having failed to provide the required expert

                    disclosures, even at this late date, the Government should be barred from

                    presenting any such opinion testimony by Dr. Norfleet. His testimony

                    should be restricted only to what he recited in his autopsy report and his

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                         Page 6 of 8
                                       3:19-cr-30067-RM-TSH # 82   Page 7 of 8




                    opinion about cause of death as stated in that autopsy report, being

                    “Complications of Blunt Thoracoabdominal Trauma”.

                           Wherefore, Defendant ALEX BANTA prays that the Court enter it

                    order barring the Government from eliciting any opinions of Dr. Gershon

                    Norfleet other than the cause of death opinion as disclosed in the doctor’s

                    autopsy report.



                                                              ALEX BANTA, Defendant,


                                                         By: _/s/Stanley N. Wasser ________
                                                             Stanley N. Wasser, #2947307
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FeldmanWasser
1307 S. Seventh St.
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217/544-3403                                         Page 7 of 8
                                         3:19-cr-30067-RM-TSH # 82   Page 8 of 8




                                           CERTIFICATE OF SERVICE

                              I hereby certify that on June 1, 2021, I electronically filed the
                        foregoing with the Clerk of the Court using the CM/ECF system which
                        will send notification of such filing to the following:

                                  Timothy A Bass         tim.bass@usdoj.gov

                                  William L Vig          bill@vig-law.com

                                  Mark Wycoff           mark@wycofflaw.com

                                  James Elmore          elmoreandreid@sbcglobal.net


                        and I hereby certify that I have mailed by United States Postal Service
                        the document to the following non-CM/ECF participants:

                                  Not Applicable




                                                            By:_/s/Stanley N. Wasser ________
                                                              Stanley N. Wasser, #2947307
                                                              One of His Attorneys
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